 2JS 44 (Rev. 12/07)
                    Case 2:10-cv-02364-STA-cgc Document 1-2 Filed 05/14/10 Page 1 of 1                                                                                      PageID 7
                                                                              CIVIL COVER SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
 by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
 the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

 I. (a) PLAINTIFFS                                                                                              DEFENDANTS
John Vanpelt                                                                                                     Liberty Life Assurance Co. of Boston


      (b) County of Residence of First Listed Plaintiff               Shelby Co., TN                            County of Residence of First Listed Defendant                Suffolk Co., MA
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                        NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                               LAND INVOLVED.

      (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)
Brett Hughes, Harris Shelton Hanover Walsh, One Commerce Square,                                               M. Clark Spoden and W. Judd Peak, Frost Brown Todd, 424 Church
Suite 2700, Memphis, TN 38103, (901) 525-1455                                                                  Street, Suite 1600, Nashville, TN 37219, (615) 251-5550

 II. BASIS OF JURISDICTION                             (Place an “X” in One Box Only)               III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                             (For Diversity Cases Only)                                         and One Box for Defendant)
 u 1     U.S. Government                  u 3 Federal Question                                                                        PTF         DEF                                          PTF      DEF
           Plaintiff                            (U.S. Government Not a Party)                           Citizen of This State         u 1         u 1      Incorporated or Principal Place      u 4     u 4
                                                                                                                                                           of Business In This State

 u 2     U.S. Government                  u 4 Diversity                                                 Citizen of Another State          u 2     u    2   Incorporated and Principal Place     u 5      u 5
           Defendant                                                                                                                                          of Business In Another State
                                                   (Indicate Citizenship of Parties in Item III)
                                                                                                        Citizen or Subject of a           u 3     u    3   Foreign Nation                       u 6      u 6
                                                                                                          Foreign Country
 IV. NATURE OF SUIT                       (Place an “X” in One Box Only)
           CONTRACT                                              TORTS                                    FORFEITURE/PENALTY                          BANKRUPTCY                     OTHER STATUTES
 u   110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY              u 610 Agriculture                   u 422 Appeal 28 USC 158           u   400 State Reapportionment
 u   120 Marine                       u    310 Airplane                 u 362 Personal Injury -         u 620 Other Food & Drug             u 423 Withdrawal                  u   410 Antitrust
 u   130 Miller Act                   u    315 Airplane Product               Med. Malpractice          u 625 Drug Related Seizure                28 USC 157                  u   430 Banks and Banking
 u   140 Negotiable Instrument                 Liability                u 365 Personal Injury -               of Property 21 USC 881                                          u   450 Commerce
 u   150 Recovery of Overpayment      u    320 Assault, Libel &               Product Liability         u 630 Liquor Laws                     PROPERTY RIGHTS                 u   460 Deportation
        & Enforcement of Judgment              Slander                  u 368 Asbestos Personal         u 640 R.R. & Truck                  u 820 Copyrights                  u   470 Racketeer Influenced and
 u   151 Medicare Act                 u    330 Federal Employers’             Injury Product            u 650 Airline Regs.                 u 830 Patent                              Corrupt Organizations
 u   152 Recovery of Defaulted                 Liability                      Liability                 u 660 Occupational                  u 840 Trademark                   u   480 Consumer Credit
         Student Loans                u    340 Marine                    PERSONAL PROPERTY                    Safety/Health                                                   u   490 Cable/Sat TV
         (Excl. Veterans)             u    345 Marine Product           u 370 Other Fraud               u 690 Other                                                           u   810 Selective Service
 u   153 Recovery of Overpayment               Liability                u 371 Truth in Lending                      LABOR                     SOCIAL SECURITY                 u   850 Securities/Commodities/
         of Veteran’s Benefits        u    350 Motor Vehicle            u 380 Other Personal            u 710 Fair Labor Standards          u 861 HIA (1395ff)                        Exchange
 u   160 Stockholders’ Suits          u    355 Motor Vehicle                  Property Damage                 Act                           u 862 Black Lung (923)            u   875 Customer Challenge
 u   190 Other Contract                        Product Liability        u 385 Property Damage           u 720 Labor/Mgmt. Relations         u 863 DIWC/DIWW (405(g))                  12 USC 3410
 u   195 Contract Product Liability   u    360 Other Personal                 Product Liability         u 730 Labor/Mgmt.Reporting          u 864 SSID Title XVI              u   890 Other Statutory Actions
 u   196 Franchise                             Injury                                                        & Disclosure Act               u 865 RSI (405(g))                u   891 Agricultural Acts
        REAL PROPERTY                       CIVIL RIGHTS                 PRISONER PETITIONS             u 740 Railway Labor Act               FEDERAL TAX SUITS               u   892 Economic Stabilization Act
 u   210 Land Condemnation            u    441 Voting                   u 510 Motions to Vacate         u 790 Other Labor Litigation        u 870 Taxes (U.S. Plaintiff       u   893 Environmental Matters
 u   220 Foreclosure                  u    442 Employment                     Sentence                  u 791 Empl. Ret. Inc.                      or Defendant)              u   894 Energy Allocation Act
 u   230 Rent Lease & Ejectment       u    443 Housing/                    Habeas Corpus:                     Security Act                  u 871 IRS—Third Party             u   895 Freedom of Information
 u   240 Torts to Land                        Accommodations            u 530 General                                                             26 USC 7609                         Act
 u   245 Tort Product Liability       u    444 Welfare                  u 535 Death Penalty                   IMMIGRATION                                                     u   900Appeal of Fee Determination
 u   290 All Other Real Property      u    445 Amer. w/Disabilities -   u 540 Mandamus & Other          u 462 Naturalization Application                                              Under Equal Access
                                              Employment                u 550 Civil Rights              u 463 Habeas Corpus -                                                         to Justice
                                      u    446 Amer. w/Disabilities -   u 555 Prison Condition               Alien Detainee                                                   u   950 Constitutionality of
                                              Other                                                     u 465 Other Immigration                                                       State Statutes
                                      u    440 Other Civil Rights                                            Actions




 V. ORIGIN                  (Place an “X” in One Box Only)                                                                                                                                    Appeal to District
 u 1 Original            u 2 Removed from                    u 3 Remanded from                     u 4 Reinstated or u 5 Transferred  from
                                                                                                                         another district  u 6 Multidistrict                        u 7 Judge from
                                                                                                                                                                                        Magistrate
     Proceeding                 State Court                             Appellate Court                Reopened                                Litigation
                                                                                                                         (specify)                                                            Judgment
                                             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              29 U.S.C. Section 1001
 VI. CAUSE OF ACTION Brief description of cause:
                                              ERISA
 VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                                   DEMAND $                                     CHECK YES only if demanded in complaint:
      COMPLAINT:          UNDER F.R.C.P. 23                                                                                                             JURY DEMAND:         u Yes     u No
 VIII. RELATED CASE(S)
                        (See instructions):
       IF ANY                               JUDGE                                                                                               DOCKET NUMBER

 DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD
   05/17/2010                                                             /s/ M. Clark Spoden
 FOR OFFICE USE ONLY

     RECEIPT #                   AMOUNT                                        APPLYING IFP                                       JUDGE                           MAG. JUDGE
